THE LAW FIRM OF                                                           The District
                                                                          111 Fulton Street – 602
C ÉSAR           DE      C ASTRO , P.C.                                   New York, New York 10038
                                                                          631.460.3951 Main
                                   ATTORNEY AT LAW                        646.285.2077 Mobile
                                                                          646.839.2682 Fax
                                                                          cdecastro@cdecastrolaw.com
                                                                          cdecastrolaw.com




June 15, 2022
Via ECF
The Honorable Brian M. Cogan
United States District Judge
U.S. District Court for the Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201



                Re:    United States v. Genaro Garcia Luna, 19 Cr. 576 (BMC)


Dear Judge Cogan,
On behalf of Genaro Garcia Luna, we write to inform the Court that at this time the defense does
not have any motions in limine. At this point the defense is trying to get a better understanding of
the specific criminal conduct Mr. Garcia Luna is alleged to have been party. To that end, on
April 15, 2022, the defense served a request on the government for particulars regarding the
charges alleged in the indictment as they relate to Mr. Garcia Luna and for materials favorable to
the defense pursuant to Brady v. Maryland, 373 U.S. 83 (1963) and Federal Rule of Criminal
Procedure 5(f). The government has made some disclosures in response to those requests, and it
is our understanding that they are in the process of continuing to produce material responsive to
those requests. We anticipate being in position to file motions in limine at a later date after we
receive and review more particularized information from the government.
Respectfully submitted,
       /s/
Valerie A. Gotlib
César de Castro
Shannon McManus


cc:    Erin M. Reid
       Saritha Komatireddy
       Philip Pilmar
       Marietou E. Diouf
       (Assistant United States Attorneys via ECF)




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